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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                                    No. CIV 10-1184 MCA/ACT

Undetermined Quantities of Articles of
Food, Consisting of Chili Pods, Ground
Chili, and Crushed Chili, Including In-process
and Finished Products, of Any Lot Number,
Packaged or Unpackaged, in Any Size or
Type of Container, Labeled or Un-labeled,
that are Determined by Their Labeling or
Otherwise To Consist in Whole or in Part of
Ingredients That Have Originated From Outside
The State of New Mexico, and That Are
Located Anywhere in the Food Warehouse
of Duran and Sons, L.L.C., Highway 187,
Derry, New Mexico, or Elsewhere Within the
Jurisdiction of This Court,

             Defendants.



                      MOTION FOR RELEASE OF SURETY BOND

      COMES NOW, Plaintiff, the United States of America, by and through Kenneth J.

Gonzales, United States Attorney for the District of New Mexico, and Raymond

Hamilton, Assistant U.S. Attorney, and hereby state that the undersigned has been

advised by United States Food and Drug Administration (“FDA”) representatives that all

conditions of the Consent Decree of Condemnation and Destruction ("Consent Decree")

entered in this case on January 31, 2011, (Doc. No. 14), have been performed.

Specifically, both Lots of the seized articles have been destroyed, and costs as
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determined by the FDA, the United States Marshals Service, or the United States

Attorney’s Office shall be paid by claimant within ten (10) calendar days of receiving a

final invoice from these entities. As a result, the United States respectfully requests,

pursuant to Paragraph 15 of the Consent Decree, that the Bond given in this proceeding

be released and returned to the Claimant.

                                          Respectfully submitted,

                                          KENNETH J. GONZALES
                                          United States Attorney

                                          Filed electronically 02-18-11
                                          /s/ Raymond Hamilton
                                          RAYMOND HAMILTON
                                          Assistant U.S. Attorney
                                          P.O. Box 607
                                          Albuquerque, New Mexico 87103
                                          Raymond.Hamilton@usdoj.gov
                                          (505) 224-1449


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 18, 2011, I filed the foregoing pleading
electronically through the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of
Electronic filing:

Stephen Hubert, Esq.
SAH@HBM_Law.com

Annie L. Mason, Esq.
ALM@HBM-Law.com



                                          /s/ Raymond Hamilton
                                          Assistant U.S. Attorney




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